       Case 1:23-mi-99999-UNA Document 2666 Filed 08/21/23 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 JILL WRIGHT,                     )
                                  )
       Plaintiff,                 )
                                  )                   CIVIL ACTION NO.
 v.                               )                   _________________
                                  )
 TARGET CORPORATION, ABC          )
 CORPORATIONS #1-3, and JOHN DOES )                   Removed From Gwinnett
 #1-3,                            )                   State Court Civil Action File
                                  )                   No.: 23-C-04718-S2
       Defendants.                )
                                  )

                DEFENDANT TARGET CORPORATION’S
              CERTIFICATE OF INTERESTED PERSONS AND
             CORPORATE-PARTY DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.3, Defendant

Target Corporation (“Target”) files its Certificate of Interested Persons and

Corporate Disclosure Statement as follows:

      (1)    The undersigned counsel of record for a party to this action certifies

that the following is a full and complete list of all parties in this action, including

any parent corporation and any publicly held corporation, that owns 10% or more of

the stock of a party:
       Case 1:23-mi-99999-UNA Document 2666 Filed 08/21/23 Page 2 of 5




             a. Defendant Target Corporation.

       (2)     The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

             a. Kevin Adamson;

             b. Brittany Schwanitz; and

             c. Kevin Adamson, P.C.

       (3)     The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

             a. Kevin Adamson and Brittany Schwanitz (Kevin Adamson, P.C.)

               for Plaintiff Jill Wright; and

             b. Brian K. Mathis (Huff, Powell & Bailey, LLC) for Defendant

               Target Corporation.

       (4)     The undersigned further certifies that the following is a list of

citizenship of all parties:

             a. Defendant Target Corporation is a domestic for Profit (Business)

               Corporation incorporated and domiciled in the State of Minnesota,

               with its principal place of business in Minnesota; for purposes of
      Case 1:23-mi-99999-UNA Document 2666 Filed 08/21/23 Page 3 of 5




           determining diversity jurisdiction, Target is therefore a citizen of

           Minnesota. 28 U.S.C. § 1332(c)(2);

        b. Plaintiff Jill Wright is a citizen of the State of Georgia.


     This 21st day of August, 2023.

                                           HUFF, POWELL & BAILEY, LLC

                                           /s/ Brian K. Mathis
                                           BRIAN K. MATHIS
                                           Georgia Bar No. 477026

                                           Counsel for Defendant
                                           Target Corporation


999 Peachtree Street, NE,
Suite 950
Atlanta, Georgia 30309
(404) 892-4022
bmathis@huffpowellbailey.com
      Case 1:23-mi-99999-UNA Document 2666 Filed 08/21/23 Page 4 of 5




                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rules 5.1(B) and 7.1(D), I hereby certify that the foregoing

filing complies with the applicable font and size requirements and is formatted in

Times New Roman, 14-point font.

                                            HUFF, POWELL & BAILEY, LLC

                                            /s/ Brian K. Mathis
                                            BRIAN K. MATHIS
                                            Georgia Bar No. 477026

                                            Counsel for Defendant
                                            Target Corporation



999 Peachtree Street, NE,
Suite 950
Atlanta, Georgia 30309
(404) 892-4022
bmathis@huffpowellbailey.com
       Case 1:23-mi-99999-UNA Document 2666 Filed 08/21/23 Page 5 of 5




                         CERTIFICATE OF SERVICE
      This is to certify that I have this day served a true and correct copy the

DEFENDANT TARGET CORPORATION’S CERTIFICATE OF INTERESTED

PERSONS AND CORPORATE-PARTY DISCLOSURE STATEMENT upon all

parties or their counsel of record via CM/ECF’s Electronic Case Filing System and

by Statutory Electronic Service, addressed as follows to assure delivery to:

                                Kevin A. Adamson
                              Brittany D. Schwanitz
                          KEVIN A. ADAMSON, P.C.
                         4295 International Blvd., Suite D
                            Norcross, Georgia 30093
                                kevin@kaapc.com
                               brittany@kaapc.com

                                Counsel for Plaintiff

      This 21st day of August, 2023.

                                             HUFF, POWELL & BAILEY, LLC

                                             /s/ Brian K. Mathis
                                             BRIAN K. MATHIS
                                             Georgia Bar No. 477026

                                             Counsel for Defendant
                                             Target Corporation

999 Peachtree Street, NE, Suite 950
Atlanta, Georgia 30309
(404) 892-4022
bmathis@huffpowellbailey.com
